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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
ESTADOS UNIDOS MEXICANOS,                 )
                                          )
            Plaintiff,                    )
                                          )                 Civil Action No.
      v.                                  )                 21-11269-FDS
                                          )
SMITH & WESSON BRANDS, INC., et al.,      )
                                          )
            Defendants.                   )
__________________________________________)

                  ORDER ON DEFENDANTS’ RENEWED MOTIONS
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION

SAYLOR, C.J.

        In January 2022, defendants Sturm, Ruger & Company; Barrett Firearms Manufacturing,

Inc.; Glock Inc.; Colt’s Manufacturing Company LLC; Century International Arms, Inc.; and

Beretta U.S.A. Corp. moved to dismiss the complaint under Fed. R. Civ. P. 12(b)(2) for lack of

personal jurisdiction. On September 30, 2022, the Court denied those motions without prejudice

as moot because it had determined that the complaint failed to state a claim upon which relief

could be granted under Fed. R. Civ. P. 12(b)(6) as to all defendants. The First Circuit has since

reversed that determination. Estados Unidos Mexicanos v. Smith & Wesson Brands, Inc., 91

F.4th 511 (1st Cir. 2024).

        Accordingly, defendants’ motions to dismiss pursuant to Fed. R. Civ. P. 12(b)(2) are

deemed to be renewed. The parties will have 14 days from the date of this order to provide the

Court with any supplemental briefing or notice of supplemental authorities relevant to deciding

those motions. The Clerk is directed to schedule a hearing on the motions at a suitable time

thereafter.
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So Ordered.

                                      /s/ F. Dennis Saylor IV
                                      F. Dennis Saylor IV
Dated: April 5, 2024                  Chief Judge, United States District Court




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